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UW IDEH/SRD USAO# 2018ROO 181                                                              MAY     8 2018
                                IN THE UNITED STATES DISTRICT COURT
                                   . FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                                  *         UNDER SEAL
                                                          *
                      v.                                  *         Criminal No.   ~6-IR- O(}.7           I'd
                                                          *
DARRYL DE SOUSA,                                          *          (Failure to File a Federal Return,
                                                          *         26 U.S.C. ~ 7203)
                                Defendant                 *
                                                          *
                                                      •••
                                                        00000 •••


                                                  INFORMA nON

The United ~tates Attorney for the District of Maryland charges:

                                               COUNT 1
                      (Failure to File a 2013 U.S. Individual Income Tax Return)

         During calendar year 2013, the defendant,

                                               DARRYL DE SOUSA,

who was a resident of Baltimore, Maryland, had and received gross income of at least $93,104.

By reason of such gross income, he was required by law; following the close of calendar year

2013, and on or before April 15, 2014, to make an income tax return to the Internal Revenue

Service Center, at Andover, Massachusetts, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Baltimore, Maryland, or to another Internal Revenue

Service office permitted by the Commissioner oflnternal Revenue, stating specifically the items

of his gross income and any deductions and credits to which he was entitled. Well knowing and

believing all of the foregoing, he did willfully fail, on or about April 15, 2014, in the District of

Maryland and elsewhere, to make an income tax return.

         In violation of26 U.S.c.           S 7203.
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                                           COUNT 2
                  (Failure to File a 2014 U.S. Individual Income Tax Return)

       During calendar year 2014, the defendant,

                                      DARRYL DE SOUSA,

who was a resident of BaItimore, Maryland, had and received gross income of at least $101,985.

By reason of such gross income, he was required by law, following the close of calendar year

2014, and on or before April 15, 2015, to make an income tax return to the Internal Revenue

Service Center, at Andover, Massachusetts, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Baltimore, Maryland, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the items

of his gross income and any deductions and credits to which he was entitled. Well knowing and

believing all of the foregoing, he did willfully fail, on or about April 15,2015, in theDistrict of

Maryland and elsewhere, to make an income tax return.

       In violation of26 U.S.C.   S 7203.




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                                             COUNT 3
                  (Failure to File a 2015 U.S. Individual Income Tax Return)

        During calendar year 2015, the defendant,

                                      DARRYL DE SOUSA,

who was a resident of Baltimore, Maryland, had and received gross income of at least $127,089.

By reason of such gross income, he was required by law, following the close of calendar year

2015, and on or before April 15,2016, to make an income tax return to the Internal Revenue

Service Center, at Andover, Massachusetts, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Baltimore, Maryland, or to another Internal Revenue

Service office permitted by the Commissioner ofinternal Revenue, stating specifically the items

of his gross income and any deductions and credits to which he was entitled. Well knowing and

believing all of the foregoing, he did willfully fail, on or about April 15, 2016, in the District of

Maryland and elsewhere, to make an income tax return.

        In violation of26 U.S.C.   S 7203.




                                                   R~               O<.IJiw../~/l.)
                                                   United States Attorney




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